                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                    CIVIL ACTION NO. 3:24-CV-00494-MOC-SCR


 SUZETTA CALZADA,                                 )
                                                  )
                   Plaintiff,                     )
                                                  )
 v.                                               )
                                                  )
 NEIMAN MARCUS GROUP, LLC, et.                    )
 al.,                                             )
                                                  )
                  Defendants.                     )


        THIS MATTER is before the Court on Defendants’ “Motion to Compel Arbitration”

(Doc. No. 6), as well as the parties’ briefs and exhibits. (Doc. Nos. 6-1, 7, 16 & 17).

        This matter has been referred to the undersigned Magistrate Judge pursuant to 28 U.S.C. §

636(b)(1), and the Motion is now ripe for the Court’s consideration.

        Having fully considered the arguments, the record and the applicable authority,

Defendants’ Motion to Compel Arbitration is granted, and this action is stayed pending arbitration.

           I.      FACTUAL BACKGROUND AND PROCEDURAL HISTORY

        On April 10, 2024, pro se Plaintiff filed this lawsuit against Defendants in Mecklenburg

County Superior Court alleging violations of the Age Discrimination in Employment Act

(“ADEA”), 29 U.S.C. §§ 621 et seq., and Title VII of the Civil Rights Act of 1964 (“Title VII”),

42 U.S.C. §§ 2000e et seq. (Compl., Doc. No. 1-2 at 3). Plaintiff alleges that she is an African

American female over 40 years of age and that she was employed by Defendants from May 29,

2012, until she was “wrongfully terminated” on March 14, 2023. Id. ¶¶ 18-19. Plaintiff alleges

she was harassed by a younger, white female co-worker, and that Plaintiff’s termination followed




      Case 3:24-cv-00494-MOC-SCR            Document 18        Filed 11/13/24      Page 1 of 8
a “verbal altercation” instigated by the same co-worker. Id. ¶¶ 21-30. Plaintiff contends that

Defendants did not adequately investigate or otherwise respond to this event, and concluded

erroneously that she was the “aggressor and initiator” of the altercation. Id. ¶¶ 22, 31-37. Plaintiff

alleges this decision was the product of unlawful race and age discrimination and retaliation. Id.

¶¶ 48-88.

       On May 22, 2024, Defendants removed the state court action to the United States District

Court for the Western District of North Carolina alleging the existence of both federal question

and diversity subject matter jurisdiction. (Doc. No. 1 at 2-5). Removal has not been challenged

and appears proper.

       Defendants filed a Motion to Compel Arbitration (Doc. No. 6) and a supporting brief. (Doc.

No. 7). Attachments to those filings establish that in association with her hiring and onboarding

process, Plaintiff was presented with an arbitration agreement (the “Arbitration Agreement”) (Ex.

A to Motion – Declaration of Melinda L. Copeland, Doc. No. 6-1 at ¶ 4 and Declaration Ex. 1).

Plaintiff signed and agreed to the Arbitration Agreement on May 30, 2012, at the beginning of her

employment. Id.

       In January 2013, Defendants published updated versions of their Associate Handbook,

Code of Conduct, and Arbitration Agreement to all employees. (Id. at ¶¶ 5-6 and Exs. 2-5).

Defendants advised all employees that their acknowledgment of these documents was a condition

of employment. (Id. at Ex. 2). Defendants also advised all employees that copies of the

aforementioned documents, including the Arbitration Agreement, were available for review in

both hard copy form and through the “NMGPS” online portal. (Id. at ¶ 6 and Ex. 2). Defendants

provided all employees with instructions on how to access their secure, password-protected

NMGPS online account using a unique username and password. (Id. at ¶¶ 6-7 and Ex. 3). From




    Case 3:24-cv-00494-MOC-SCR              Document 18         Filed 11/13/24      Page 2 of 8
there, the employee could navigate to the “Required Training” section on the home screen within

the NMGPS portal and locate the electronic link for “NMG Company Documents – e-Signature

Required – January 2013,” which provided the employee electronic access to the Arbitration

Agreement. (Id. at ¶ 8 and Ex. 3).

        In accordance with the instructions provided, on February 7, 2013, at 9:10 a.m., Plaintiff

electronically agreed to the mandatory arbitration acknowledgement form (the “Arbitration

Acknowledgment”). (Id. at ¶¶ 10-12 and Exs. 6-7). Plaintiff specifically acknowledged and

affirmed (i) that she had an opportunity to review the Arbitration Agreement, (ii) that “that

arbitration is the exclusive means of resolving any and all disputes or claims [she] or the Company

may have against each other, arising out of or connected in any way with my employment with

NMG, in lieu of a judge or jury trial”, and (iii) that “. . . IF [SHE] ACCEPT[S] OR CONTINUE[S]

EMPLOYMENT WITH THE COMPANY, [SHE IS] DEEMED TO HAVE ACCEPTED THE

MANDATORY ARBITRATION PROGRAM.” (Id. at Ex. 6 (emphasis in original)).

        On the cover page of the Arbitration Agreement, the following statement is displayed in

all-caps font:

        THIS AGREEMENT FOR MANDATORY ARBITRATION IS NOT
        OPTIONAL. IT IS MANDATORY AND A CONDITION AND TERM OF YOUR
        EMPLOYMENT IF YOU ARE OR CONTINUE TO BE AN EMPLOYEE ON OR
        AFTER MARCH 1, 2013, WHICH IS THE EFFECTIVE DATE OF THIS
        AGREEMENT (THE “EFFECTIVE DATE”), YOU ARE DEEMED TO HAVE
        ACCEPTED AND AGREED TO THE MANDATORY ARBITRATION
        AGREEMENT BY COMING TO WORK AFTER THAT DATE. IF YOU
        ACCEPT EMPLOYMENT WITH THE COMPANY AFTER THE EFFECTIVE
        DATE, YOU ARE DEEMED TO HAVE ACCEPTED AND AGREED TO THIS
        MANDATORY ARBITRATION AGREEMENT BY ACCEPTING A JOB AT
        THE COMPANY.


(Id. at Ex. 4).




    Case 3:24-cv-00494-MOC-SCR             Document 18        Filed 11/13/24     Page 3 of 8
        In terms of scope, the Arbitration Agreement provides that “all Disputes” between the

parties are subject to arbitration:

        1. Scope. The parties agree that all Disputes shall be resolved exclusively through
        binding arbitration in accordance with the terms, conditions, and procedures of
        this Agreement…
                 ***
        3. Disputes. The parties agree that this Agreement covers any dispute(s) involving
        (i) the formation, validity, enforceability, construction or application of any of the
        terms, covenants, or conditions of this Agreement; (ii) an allegation that any
        adverse employment action was based on discrimination or harassment
        because of Employee’s race, color, gender, sexual orientation, sexual identity,
        age, religion, national origin, disability, mental or physical handicap, genetic
        information, FMLA leave or any other legally protected status arising under
        any federal, state or local law or regulation; (iii) claims related to, or arising
        out of, the employment relationship between Employee and NMG; and/or
        Employee’s separation from employment with NMG, including but not limited
        to any termination, retaliation or constructive discharge claims…

(Id. at Ex. 4, §§ 1 and 3) (emphasis added).

        The Agreement also contains a broad delegation clause, delegating all questions of

arbitrability to the arbitrator:

        7. Arbitrator’s Authority. The Arbitrator, and not any federal, state, or local court
        or agency, shall have exclusive authority to resolve any claim or Dispute
        relating to the interpretation, applicability, enforceability or formation of this
        Agreement including, but not limited to, any claim that all or any part of this
        Agreement is void or voidable.

(Id. at Ex. 4, § 7) (emphasis added).

        The Arbitration Agreement’s governing law provision provides:

        This Agreement shall be governed by, construed under and enforced in accordance
        with the Federal Arbitration Act, 9 U.S.C. § 1 et. seq. (“FAA”). Any grounds,
        claims, or defenses that may exist at law or in equity to challenge the validity or
        enforceability of the Arbitration Agreement, including fraud, duress or
        unconscionability, as provided under Section 2 of the FAA shall be determined
        by the Arbitrator in accordance with Texas law.

(Id. at Ex. 4, p. 5 § 10) (emphasis added).




    Case 3:24-cv-00494-MOC-SCR                Document 18      Filed 11/13/24       Page 4 of 8
        In her Response to the Motion to Compel Arbitration, Plaintiff expresses her preference

for mediation over arbitration. (Doc. No. 16). She does not offer any argument that arbitration is

unwarranted here, stating only that she believes mediation is “more appropriate.” Id. Her Response

to Defendants’ Motion states in its entirety:

                I, Suzetta Calzada, pro se Plaintiff in the above-referenced case, would like
        to formally express my preference for mediation over arbitration regarding the
        ongoing dispute with Neiman Marcus Group, LLC. While I understand the
        defendants’ position in seeking to compel arbitration, I believe that mediation is a
        more appropriate forum for resolving this matter.
                Mediation would allow both parties the opportunity to engage in a more
        collaborative and less adversarial process, where we could work together with a
        neutral third party to explore mutually acceptable solutions. It also provides greater
        flexibility and could lead to a resolution that considers the unique aspects of this
        case.
                I appreciate the Court’s consideration of my request and remain hopeful for
        an opportunity to pursue mediation as a resolution path.

Id.

        Defendants’ Motion is ripe for determination.

                                       II.      DISCUSSION

        The Federal Arbitration Act (“FAA”) provides that written arbitration agreements “shall

be valid, irrevocable, and enforceable, save upon such grounds as exist at law or in equity for the

revocation of any contract . . . .” 9 U.S.C. § 2. The FAA requires courts to stay proceedings and

compel arbitration in the event of a refusal to comply with a valid agreement to arbitrate. 9 U.S.C.

§ 3; Smith v. Spizzirri, 144 S. Ct. 1173, 1173 (2024). The Supreme Court has described the FAA

as a “federal policy favoring arbitration.” AT&T Mobility, LLC v. Concepcion, 563 U.S. 333,

339 (2011) (citation omitted). “[C]ourts must rigorously enforce arbitration agreements according

to their terms.” Am. Exp. Co. v. Italian Colors Rest., 570 U.S. 228, 233 (2013) (internal quotations

omitted). When reviewing a motion to compel arbitration, courts construe the record in the light

most favorable to the non-moving party and draw all reasonable inferences in its favor. Forshaw




      Case 3:24-cv-00494-MOC-SCR             Document 18        Filed 11/13/24      Page 5 of 8
Indus., Inc. v. Insurco, Ltd., 2 F. Supp. 3d 772, 785 (W.D.N.C. 2014). “The burden is on the

defendant to establish the existence of a binding contract to arbitrate the dispute.” Hodge v. Toyota

Motor Credit Corp., No. 1:22-CV-00001-MR-WCM, 2022 WL 2195022, at *2 (W.D.N.C. June

17, 2022) (quoting Rowland v. Sandy Morris Fin. & Estate Planning Servs. LLC, 993 F.3d 253,

258 (4th Cir. 2021)).

       Here, the FAA’s applicability is undisputed. A party seeking to compel claims to arbitration

under the FAA must establish that: “(1) a dispute exists between the parties; (2) the dispute falls

within the scope of a written, valid agreement that includes an arbitration provision; (3) the parties’

agreement relates to interstate or foreign commerce; and (4) the opposing party has failed or

refused to arbitrate the dispute at hand.” Amos v. Amazon Logistics, Inc., 74 F.4th 591, 595 (4th

Cir. 2023) (citing Adkins v. Lab Ready, Inc., 303 F.3d 496, 500-01 (4th Cir. 1971)). Here it is

evident, and Plaintiff does not contest, that a dispute exists between the parties, that there is a

written arbitration agreement which purports to cover the dispute and relates to interstate or foreign

commerce, and that Plaintiff has declined to arbitrate the dispute to date.

       Moreover, in some instances, such as here, the parties’ contract divests the court of its

power to determine the threshold issue of arbitrability by way of a delegation clause which gives

the arbitrator the primary power to rule on the arbitrability. Rent–A–Center, West, Inc. v. Jackson,

561 U.S. 63, 68-9 (2010) (citation omitted) (recognizing “that parties can agree to arbitrate

‘gateway’ questions of ‘arbitrability’ such as whether the parties have agreed to arbitrate or

whether their agreement covers a particular controversy.”). When there is a valid delegation

clause, as exists in this case, the Court is required to refer a claim to arbitration to allow the

arbitrator to decide gateway arbitrability issues. Henry Schein, Inc. v. Archer & White Sales, Inc.,

586 U.S. 63, 65 (2019) (“When the parties’ contract delegates the arbitrability question to an




    Case 3:24-cv-00494-MOC-SCR               Document 18        Filed 11/13/24       Page 6 of 8
arbitrator, the courts must respect the parties’ decision as embodied in the contract.”); (Doc. No.

6-1, Ex. 4, § 7).

        “The Fourth Circuit has routinely recognized this principle, explaining that questions of

arbitrability will be delegated to the arbitrator when the agreement ‘clearly and unmistakably

provide[s] that the arbitrator shall determine what disputes the parties agreed to arbitrate.’”

Brookdale Senior Living Inc. v. Weir, No. 3:20CV293-GCM, 2021 WL 3464966, at *3 (W.D.N.C.

Aug. 6, 2021) (quoting Peabody Holding Co., LLC v. United Mine Workers of Am., Int’l Union,

665 F.3d 96, 102 (4th Cir. 2012)). “[A] delegation provision that gives an arbitrator the authority

to resolve disputes relating to the ‘enforceability,’ ‘validity,’ or ‘applicability’ of an arbitration

agreement constitutes clear and unmistakable evidence that the parties intended to arbitrate

arbitrability.” Id. (citations omitted).

        Considering all of this, the Court grants Defendants’ Motion to Compel Arbitration and

stays this matter pending arbitration.

                                            III.    ORDER

IT IS, THEREFORE, ORDERED that:

        1.   Defendants’ Motion to Compel Arbitration (Doc. No. 6) is GRANTED. The parties

             are ORDERED to submit this matter to arbitration in accordance with the Arbitration

             Agreement.

        2. This matter is STAYED pending the outcome of the parties’ binding arbitration. See

             9 U.S.C. § 3. It is further ORDERED that the parties shall file a status report within

             90 days of this Order, and each 90 days thereafter, until the conclusion of the

             arbitration.

        3. The Clerk shall send copies of this Order to pro se Plaintiff, to counsel for Defendants,

             and to the Honorable Max O. Cogburn, Jr.



    Case 3:24-cv-00494-MOC-SCR              Document 18         Filed 11/13/24      Page 7 of 8
  SO ORDERED.
                             Signed: November 13, 2024




Case 3:24-cv-00494-MOC-SCR   Document 18       Filed 11/13/24   Page 8 of 8
